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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        CASE NO: 23-cv-22276-BLOOM/Otazo-Reyes

   PATRICK MULLER, an individual, and
   MOUNA BOUZID, an individual,

          Plaintiffs,
   vs.

   ITEB ZAIBET, et al

          Defendants.
                                                 /

                  NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL

         COMES NOW the undersigned JOHN D. OSGATHORPE, ESQUIRE and hereby

  makes an appearance as additional counsel of record for Plaintiffs PATRICK MULLER and

  MOUNA BOUZID in the above styled cause and request that any pleading or other matters

  pertaining to this cause be also directed to him on behalf of said Plaintiff.

                                                     TAYLOR, DAY, GRIMM & BOYD

                                                     /s/ John D. Osgathorpe
                                                     John D. Osgathorpe, Esquire
                                                     Florida Bar No. 147620
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                                                     Mouna Bouzid
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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 15th day of November 2023, I electronically filed the

  foregoing document with the United States District Court for the Southern District of Florida by using

  the CM/ECF system which will send notification of such filing to all counsel of record registered in

  the CM/ECF System.


                                                 /s/ John D. Osgathorpe
                                                         Attorney




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